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SE(.`URITIES AND EX(.`HANGE COMMISSIO.N.
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STEVEN R. G.,»\RFR\’KEL AN'D M¥CHAEL
O`H.'\NLON

Det`endams

 

 

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FINAL JUDCMENT A,S TO DEFF.NDANT Ml("H.-\EL O’HANLON

'I"he Sccuriéles and Exchange L`nmmrssu.»n ha\-mg Elcxi a C`omplamt and Def`::‘ndant
Mic.hacl ()"Hanl¢m l"l`)e:t`:?ndan!"l. having entered n general appear.\ncc; consented 10 the C`oun`.»=
jurisdiction over [)el`c:ndazm and the subject matter nf'tl'zc`s action consented tr_) cnuj' 01` this Frn;a|
Judgm¢:'n! withom ad‘nmting or dcn_\"mg thc allegations c\f the ("omplaml fexcept as to
jllnsdict:¢)lll; waived z`lzldmgs= uf` fact and c¢)nc§u.~'mns nt` law and v~'az\'cd any rigle to appeal
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l'l` 15 HEREB\' UR.D}?RH\. Af)_l[__§`l,)€'i£[). .~\ND DEL`REEL`! th.\t D=:l`c.-nd.'mc and
Dcfcndau!`s agents. employ-eaa attom<:_~;s. and ali persona in acri\'c carmen ur p;znicip;)tion \\'ilh
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sttatemcnt tzt`:m :.~_\:~_;tti:i required to be made under the t"ctf~cr;tl §c‘curtti'e$ law§: or l itt
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filed with the Conimissiort;

l`d) omitting to state or causing another person to omit to Statc. any material fact
rtei:csz.ar_\' in order tit make §tatentents madr:. m li ght nt`tht: circumstances under
which statements were rnatlc. not misleading to an account;utt. tn connection with
(i) any audit. review tit examination ot`a financial statement ot`an issuer required
tn he made under the f`edt:r;tl martinez tim s1 <)r tiil the preparation ctr filing ii{`:zn§.‘
report or document required to he nude tit to be tilcti with tile t`_`nntnttssion; and

(€‘l directly or indirectly taking t-in\ section to £t»ercc. manipulate misl€;“ad. fit
fraudulently influence any independent public or certified public accountant
engaged in the performance ot`an_\‘ audit or review of any financial statement titan
issuer that is required tn he tich with the (`t\mmi.~‘sion or i_vth<*i'\\'i§t:. iisuch action
could result in rendering the financial statement material n'n;»'lc:iding.

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lT IS FURTHER OP.DF.RE`;U. Al§)_ll_"[lt}l?[.t. .-\ND DEC`RFFI') thin Dt:'t`cnd:tnt and
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pm'ni-\m¢:ntl_\ restrained find enjoined l`n"-ni violating ti:t'i.~t'ti_t or indirectly thl:- 133-til [ l "
(,`.P,R\ § 341`3.[_`13-!-1} -)I`thc“ E\‘clmngc .»’sct lt_‘.' lil:ng l:tlsi_‘ certification t\t'anj,' animal ur quarterly

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Dei°`endant`s age-nts. cmpli;.\yi:€s." itttt_~rne_\’s. and all pcr,<i;)ns in active concert or participation with
them vi liu receive actual notice ot`tliis Final .|i.idg,mcnt bj,' personal service or othem'is:c are
pentizinc*ntly restrained and enjoined from aiding and abetting any violation ot`Sections l$tal and
l}t`b}t.?ttA) ofthe Exchange Act [ | 5 Ll.S.C`. §§ ?Sm(a\, "’t_~?iiitbii_l)(.$.)| and Rulcs le-.?tt. l}a~l,
and 133-ij theremider [17 C`.F.R. §§ 24tl.l1li~2tl. 24t`l, 13.':1'1. and _-’:tt`_t, l .`~a-l}} by knowingly
providing Suhstantial nssistam“r' to an issuer that violates the federal §eciirities laws Which requirei
iii to tile with the (`i.itiinnssion accurate periodic rcpi:it'ts. to maintain accurate books and rccords.
and to devise and maintain a stit`ticient S_\'_~;tcni of internal .ii t‘<‘»uriting controls

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lT IS Fl.lRTHER ORDER_ED‘ .-XU.IUD(_}ED. .--\=\l) I)F.t.`REEU tli.-'it. pursuant to S€:ctic»n
2 ltd}tl) ol`the F.xchtmgc r'\ct [15 US.C`. § ‘FRiittltt.`.’)l. I}cl`cndiirit is permanently prohibited from
acting 213 an officer ¢:\r director nt`any issuer tli:it has a class iil'sc‘t‘urittc:s registered pursuant in
Sectii\n §§ willie l:`\<i:h;irige: :»\ct [l.“` ll ,\`t § ".‘i'll ur that is i'equii't;:'tl in tile reports pursuant in
Se':ctinii l5tdl oftth E.xchange Ai:t ll."» l `“§(`. § `.’>§i')i_cli]

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D€'f`r:iidant`s s\\~'i)rn representativn> iii bia .\`ttitt:meiii tit I`- iii.inti;i| (_`uni.litit'.»ri dated \i.i‘.' 2.`_ 2"`" 1‘3.
and other documents ;ind int`t)riii.'itmn <iiliiiiitied to thc ("t\iiinii<.<ion, tim ("t\im r\; not ordering
Det`endzmt to pay ii ci\il piztiiilt_\“ lhe d€t<:nniii:itii,iii nut to rm;imc ;i civil penalty z< t-¢_\niin§cnt

upon tli-c. aectir;ic¥" and completeness tit`l?ctc‘iiiltiit!'~‘~ .‘.§t;it€rrier‘it titl i:inaitit‘i:il ("r»iiit:ti-)n lt tit itit,\

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time following the entry ul`this Final ludgiiient thc {`oinmi;§siuii obtains information indicating
that Det`endzint`$ reprezieiit;itii»n_~ tci the t`¢\riiiiiis‘sinii concerning his ii>i_~'et.'~f. income liabilities. tit
net worth were fraudulent misleading inaccurate ur nic¢iniiiiete iii zin_\' iii.-iteri;il respect as 01` the
time such representations were inade. the Cmnmi.~;.~iun niii_\.'. iii its sole discretion and without
prior notice to Defendam. petition the (`iiurt for an order requiring Defeiidiint to pay the
maximum cit il penalty allowable under the lii\i'. ln connection with anj_.' such petition4 the only
issue shall be whether the l`inaiiciaf iiil`i,)miiiliun prt)\ ided by Defendant wis fraudulent,
misleading inaccurate or incomplete iii any material respect as of the time such representations
\\'cre inade. lii its pctitiiiii. the Ci_itiitnissit)n may iiin\'e this (_"oiirt iii cnn§ider all available
rt‘iiictlie.~;. including hut nut limited lot ordering Detentl;iiit m pitt l`uiid.< or ussets. directing the
forfeiture tit`iin_i' assets. iii Szinctit)nz: l`tir ct.)iiieiiipt iit` this Fiii;il .liid_i;ineiii the Cuminissitiii mai
also request additional discoverz-'. De.t'eni.limt may riot. h}-' way ot`tiet`eiise to such petitinn: tl l
challenge the validit_i t)fthe t_`<iiiseiit ur this Fin;il .ludi_;nient. ill content the allegations in the
Compl:iiiit filed hi the ("nmiiiiiisinn: t`\i iizzeri that piiziiieiit nt`ii civil penalty should nut he
urderetl; {_4} contest the imposition nflhc minimum cz\ il penalty allcm';ible under the l:iw; or t_ Si
assert anyl defense ltv liability or rcnie.d_i.'. izicltitlin_i__g. but not limited tti. any _~'Litu!e tit liiiiit;iti~:iii_»
defense
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shall comply ii ith all ot"tne undertaking ;iiid .i;_'i"eeniciit.~ :-t'-t with therein

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